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   UNITED STATES DISTRICT COURT
   FOR THE DISTRICT OF RHODE ISLAND

   DAVID ST. AMOUR
   DIANE ST. AMOUR

         VS

   FEDERAL HOME LOAN MORTGAGE CORPORATION
   US BANK, NATIONAL ASSOCIATION,
   AS TRUSTEE FOR LSF 9 MASTER PARTICIPATION TRUST,
   CALIBER HOME LOANS, INC.

                                  COMPLAINT

         Plaintiffs, by their attorney complain of Defendants as follows:

         1.    Plaintiffs are a residents of the State of Rhode Island with an
   address of 8 East Quail Rune, Charlestown, Rhode Island. Plaintiffs reside
   at and own said real estate located at 8 East Quail Run, Charlestown,
   Rhode Island.


         2.     Plaintiffs executed a mortgage to Mortgage Electronic
   Registration Systems, Inc. (“MERS”) as nominee for Mortgage Lenders
   Network USA, Inc. dba Lenders Network on June 26, 2006. A copy is
   attached as Exhibit A.


         3.    Orlans PLLC is a Michigan Limited Liability Company, which
   does business in Rhode Island as a debt collector.


           4.     Caliber Home Loans , Inc. (“Caliber”) is a foreign corporation.
   It is a loan servicer for the owner of Plaintiffs’ mortgage. It is a debt
   collector and it does not own Plaintiffs’ mortgage. At the time it commenced
   servicing of the mortgage loan, Plaintiffs’ mortgage loan account was treated
   by Caliber as if were in default.




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          5. US Bank National Association as trustee for LSF 9 Master
   Participation Trust (“US Bank”) claims to own Plaintiffs’ note and
   mortgage.

          6. Bank of America, N.A. (“BOA”) was the former servicer for the
   Plaintiffs’ mortgage loan. It acted as servicer using the name of BAC Home
   Loan Servicing, LP (“BAC”) which it merged with in 2011.

         7.    The former name of BAC was Countrywide Home Loans
   Servicing, LP (“Countrywide”).

           8.    Nationstar Mortgage, LLC (“Nationstar”) was a former loan
   servicer for Plaintiffs’ mortgage loan, prior to Caliber obtaining servicing
   rights.

         9.    Defendant, Federal Home Loan Mortgage Corporation
   (“Freddie Mac”) is a corporation created by an Act of Congress, It was the
   owner of the Plaintiffs’ mortgage loan until it was sold to Lone Star
   Funding, a company which claims to have securitized Plaintiffs’ mortgage
   loan.

         10. Plaintiffs’ promissory note was lost at some time prior to
   Freddie Mac selling the mortgage loan to Lone Star Funding.

         11. While Plaintiffs’ mortgage loan was being serviced by
   Countrywide, they received a loan modification from Countrywide on behalf
   of Freddie Mac. A copy of this loan modification is attached as Exhibit B.

         12. This loan modification was applied for by Plaintiffs in a
   program participated in by Countrywide and Freddie Mac.

          13. Plaintiffs made all payments toward this loan modification, they
   mailed in the signed modification to Countrywide and in all ways complied
   with the terms of the medication. As a result, the original mortgage was
   modified by Freddie Mac, through its agent Countrywide.

          14. Despite the transmission of the executed modification by the
   Plaintiffs, Freddie Mac, through its agents and servicers BOA, BAC,
   Countrywide and Nationstar refused to implement the modification on the
   electronic system of record of each servicer. As a result the modification of
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   the mortgage loan was never reflected in the monthly statements of the
   Plaintiffs.

         15.    This Court has jurisdiction pursuant to diversity jurisdiction.

         16. In addition, Plaintiffs payments were misapplied from March
   2009 and were not applied properly to the mortgage loan.

         17. Eventually, Freddie Mac, through its agents and servicers
   refused to accept payments made by the Plaintiffs and returned these
   payments.

         18. Plaintiff, David St. Amour, observing that these payments were
   not being accepted, saved the monthly payments, which were not being
   accepted by Freddie Mac, through its servicers.


                                    COUNT I

   COMPLAINT FOR DAMAGES FOR VIOLATIONS OF THE TRUTH
   IN LENDING ACT BY US BANK’S FAILURE TO SEND THE
   PLAINTIFFS A MONTHLY MORTGAGE STATEMENT EACH
   MONTH PURSUANT TO THE PROVISIONS OF 12 C.F.R. 1026.41
   AND 15 U.S.C. 1638

         19.    Paragraphs 1-18 are incorporated by reference.

        20. This is an action for damages brought by the Plaintiffs, who are
   consumers, for US Bank’s violations of the Truth in Lending Act, 15 U.S.C.
   §1601 et seq. (“TILA”).

         21. Specifically, Plaintiffs seeks the remedies provided in TILA for
   Defendants’ failure to send the Plaintiffs monthly mortgage statements as
   required by 15 U.S.C. §§ 1638 and 12 C.F.R. 1026.41 respectively.

          22. This Court has jurisdiction pursuant to 15 U.S.C. §1640 to
   provide private remedies for failure to respond to provide a borrower
   monthly statements. 15 U.S.C. § 1640 provides for statutory damages of the
   type alleged in this Complaint to a range of not less than $400.00 nor greater


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   than $4,000.00. Jurisdiction is further conferred on this Court by 15 U.S.C.
   §1640(e).

         23. Caliber claims to be the servicer of the mortgage loan, which is
   the subject of this complaint

        24. US Bank claims to be the owner of the mortgage note and
   mortgage loan.

         25.    The mortgage loan is a “federally related mortgage loan” as
   defined in 12 U.S.C. § 2602(1).

         26. Plaintiffs have not been sent a monthly statement in compliance
   with 12 C.F.R. 1026.41 since May 9, 2017.

          27. Pursuant to 12 C.F.R. 1026.41, the loan servicer on behalf of
   the creditor, Caliber was required to send the Plaintiffs a monthly mortgage
   statement that provides the following information:

   (d) Content and layout of the periodic statement. The periodic statement
   required by this section shall include:
   (1) Amount due. Grouped together in close proximity to each other and
   located at the top of the first page of the statement:
   (i) The payment due date;
   (ii) The amount of any late payment fee, and the date on which that fee will
   be imposed if payment has not been received; and
   (iii) The amount due, shown more prominently than other disclosures on the
   page and, if the transaction has multiple payment options, the amount due
   under each of the payment options.
   (2) Explanation of amount due. The following items, grouped together in
   close proximity to each other and located on the first page of the statement:
   (i) The monthly payment amount, including a breakdown showing how
   much, if any, will be applied to principal, interest, and escrow and, if a
   mortgage loan has multiple payment options, a breakdown of each of the
   payment options along with information on whether the principal balance
   will increase, decrease, or stay the same for each option listed;
   (ii) The total sum of any fees or charges imposed since the last statement;
   and
   (iii) Any payment amount past due.


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   (3) Past Payment Breakdown. The following items, grouped together in
   close proximity to each other and located on the first page of the statement:
   (i) The total of all payments received since the last statement, including a
   breakdown showing the amount, if any, that was applied to principal,
   interest, escrow, fees and charges, and the amount, if any, sent to any
   suspense or unapplied funds account; and
   (ii) The total of all payments received since the beginning of the current
   calendar year, including a breakdown of that total showing the amount, if
   any, that was applied to principal, interest, escrow, fees and charges, and the
   amount, if any, currently held in any suspense or unapplied funds account.
   (4) Transaction activity. A list of all the transaction activity that occurred
   since the last statement. For purposes of this paragraph (d)(4), transaction
   activity means any activity that causes a credit or debit to the amount
   currently due. This list must include the date of the transaction, a brief
   description of the transaction, and the amount of the transaction for each
   activity on the list.
   (5) Partial payment information. If a statement reflects a partial payment
   that was placed in a suspense or unapplied funds account, information
   explaining what must be done for the funds to be applied. The information
   must be on the front page of the statement or, alternatively, may be included
   on a separate page enclosed with the periodic statement or in a separate
   letter.
   (6) Contact information. A toll-free telephone number and, if applicable,
   an electronic mailing address that may be used by the consumer to obtain
   information about the consumer's account, located on the front page of the
   statement.
   (7) Account information. The following information:
   (i) The amount of the outstanding principal balance;
   (ii) The current interest rate in effect for the mortgage loan;
   (iii) The date after which the interest rate may next change;
   (iv) The existence of any prepayment penalty, as defined
   in§ 1026.32(b)(6)(i), that may be charged;
   (v) The Web site to access either the Bureau list or the HUD list of
   homeownership counselors and counseling organizations and the HUD toll-
   free telephone number to access contact information for homeownership
   counselors or counseling organizations; and
   (8) Delinquency information. If the consumer is more than 45 days
   delinquent, the following items, grouped together in close proximity to each
   other and located on the first page of the statement or, alternatively, on a
   separate page enclosed with the periodic statement or in a separate letter:
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   (i) The date on which the consumer became delinquent;
   (ii) A notification of possible risks, such as foreclosure, and expenses, that
   may be incurred if the delinquency is not cured;
   (iii) An account history showing, for the previous six months or the period
   since the last time the account was current, whichever is shorter, the amount
   remaining past due from each billing cycle or, if any such payment was fully
   paid, the date on which it was credited as fully paid;
   (iv) A notice indicating any loss mitigation program to which the consumer
   has agreed, if applicable;
   (v) A notice of whether the servicer has made the first notice or filing
   required by applicable law for any judicial or non-judicial foreclosure
   process, if applicable;
   (vi) The total payment amount needed to bring the account current; and
   (vii) A reference to the homeownership counselor information disclosed
   pursuant to paragraph (d)(7)(v) of this section.

         28. None of these statements have been sent to the Plaintiffs,
   inconformity with Regulation Z since May 9, 2017.

          29.    The Plaintiffs have been charged regular fees for Property
   Inspection in a monthly charge of $15.00 on the statements, which were
   sent These fees were neither reasonable nor necessary and were not actually
   paid to the vendor which purportedly billed the loan servicer.

          30. Advertising costs and foreclosure fees have been charged to the
   mortgage loan account and reflected in each of the periodic monthly
   statements despite the fact that neither lender, the assignee or the servicer of
   the alleged owner of the mortgage loan were authorized to exercise the
   statutory power of sale.

          31. These fees were not accurate because they included fees for
   foreclosure and related expenses despite the fact that the Plaintiffs note had
   been lost and due to the fact that a default letter in accord with the terms of
   their mortgager had never been mailed to them,

         32. These charges have resulted in an incorrect calculation of
   principal and interest in all statements sent to the consumers by Caliber on
   behalf of US Bank.



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          33. As a result of this failure to comply with 12 C.F.R. 1026.41 and
   TILA, Defendant, US Bank is liable to each Plaintiff for actual damages and
   statutory damages of up to $4,000.00 for each of the statements, which were
   either not sent to the Plaintiffs since May 9, 2017 or were not accurate and
   not in conformity with 12 C.F.R. 1026.41 and TILA.

          34. The Plaintiffs have incurred actual damages, costs and legal
   fees in regard to this action:

         a.     They have incurred costs for gasoline to visit their attorney on
                at least two occasions, driving totheir attorney’s office for a
                round trip totaling 91.2 miles. The IRS standard mileage
                allowance provides for .56 per mile.

         b.     They have incurred postage costs, copying costs and stationary
                and envelope costs for transmission to the Defendant.

         c.     They have incurred costs to charge the batteries to their
                cellphones to make calls and to send emails to their attorneys

         d.     They have incurred attorney fees and costs for the prosecution
                of this action. Their fee agreement with their attorney provides
                that they will be responsible for legal fees expenses incurred in
                regard to this action.

         WHERFORE, each Plaintiff demands Judgment against US Bank for

   statutory damages of at least $4,000.00, for each monthly failure to send a

   monthly mortgage statement in conformity with TILA since May 9, 2017

   through this date and continuing in the future. plus actual damages, plus

   attorney fees and costs and all other just and proper relief.




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                                                DAVID ST. AMOUR
                                                DIANE ST. AMOUR
   May 7, 2018                                  By their Attorney

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                                    COUNT II

   VIOLATION OF THE COVENANT OF GOOD FAITH AND
   DEALING FOR BREACH OF THE MORTGAGE CONTRACT

         35.     Paragraphs 1-34 are incorporated by reference.

         36. The mortgage contract, as modified by the loan modification,
   between Plaintiffs and the mortgagee and its successor or assignee contained
   an implied covenant of good faith and dealing between the parties so that the
   contractual obligation of the contract might be achieved.

          37. On or about February 11, 2009, Freddie Mac, through its loan
   servicer, Countrywide, entered into a Loan Modification Agreement with the
   Plaintiffs.

         38. Plaintiffs signed this agreement March 4, 2009 and March 6,
   2009. Freddie Mac, through Countrywide sent the Plaintiffs the agreement,
   who signed it, sent it back and made all the payments under the loan
   modification, which had reduced the interest rate of the Plaintiffs and
   extended the term.

          39. Despite this compliance with the contact by the Plaintiffs,
   Freddie Mac, through Countrywide and all servicers refused to honor the
   modification and did not apply the payments made by the Plaintiffs pursuant
   to the terms of the modified mortgage loan.



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          40. As a result of this breach of contract, payments made by the
   Plaintiffs were not properly applied to the mortgage and were applied
   improperly to late fees and costs.

         41. Plaintiffs’ monthly payments were not accepted resulting in
   purported arrearages, despite the fact that the Plaintiffs were ready, willing
   and able to make the modified monthly payments, which Freddie Mac
   refused to accept through its servicers.

          42. In fact, Freddie Mad, through its servicers, contended that the
   Plaintiffs had not mailed in the modifications, even though Countrywide had
   received the signed modification.

         43.    As a result, Plaintiffs have incurred the following damages:

                 a.    Plaintiffs’ mortgage loan account has been charged fees
                       and costs which were not permitted pursuant to the
                       terms of the mortgage as modified.

                 b.    Plaintiffs have incurred damages for aggravation,
                       humiliation, embarrassment, loss of privacy, strain on
                       personal relationships, loss of enjoyment of life, sleepless
                       nights, worry and anxiety.

                 c.    Plaintiffs have not received tax deductions for interest
                       and taxes paid on the mortgage loan due to the
                       misapplication of payments made.

                 d.    Plaintiffs’ mortgage loan account has been charged late
                       fees and other improper costs, including improper
                       charges for interest.

                e.     Plaintiffs have incurred attorney fees and costs for the
                       prosecution of this action.

          44. The conduct of Freddie Mac, through its loan servicers was
   willful, wanton and reckless, warranting the imposition of punitive damages.
   It ignored the fact that the loan had been modified, but instead refused to
   acknowledge same and in fact insisted that no modification had been sent


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    back to Countrywide. It then recklessly directed its servicer not to accept
    payments from the Plaintiffs.


          WHEREFORE, Plaintiffs demand the following relief:

                  a.   Damages against Freddie Mac for failure to comply with
                       the terms of the mortgage, as modified by the loan
                       modification;

                  b.   Damages against Freddie Mac for legal fees and actual
                       damages as alleged in the complaint, arising from the
                       breach of contract.

                  c.   Legal fees from Freddie Mac.

                  d.   Actual damages attributable to the aggravation,
                       humiliation, embarrassment, loss of privacy, strain on
                       personal relationships, loss of enjoyment of life, sleepless
                       nights, worry and anxiety and stress suffered by the
                       Plaintiff.

                  e.   Punitive Damages.

                  f.   All other just and proper relief.


                                                  DAVID ST. AMOUR
                                                  DIANE ST. AMOUR
    May 7, 2018                                   By their Attorney

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                                    COUNT III

    COMPLAINT FOR DAMAGES FOR VIOLATIONS OF THE TRUTH
    IN LENDING ACT BY US BANK’S FAILURE TO SEND THE
    PLAINTIFF AN ACCURATE PAYOFF STATEMENT PURSUANT
    TO THE PROVISIONS OF 15 U.S.C. 1639


          45.    Paragraphs 1-44 are incorporated by reference.

         46. This is an action for damages brought by the Plaintiff who is a
    consumer, for us Bank’s violation of the Truth in Lending Act, 15 U.S.C.
    §1601 et seq. (“TILA”).

          47. Specifically, Plaintiffs seek the remedies provided in TILA for
    Defendant’s transmission to the Plaintiffs of an inaccurate payoff statement
    dated December 13, 2017 in violation of 15 U.S.C. § 1639.

          48. This Court has jurisdiction pursuant to 15 U.S.C. §1640 to
    provide private remedies for providing an inaccurate payoff statement to the
    borrower. 15 U.S.C. § 1640 provides for statutory damages of the type
    alleged in this Complaint to a range of not less than $400.00 nor greater than
    $4,000.00. Jurisdiction is further conferred on this Court by 15 U.S.C.
    §1640(e).

            49. Caliber is a corporation that services residential mortgage loans.
    It is the servicer of the mortgage loan, which is the subject of this complaint

         50. US Bank claims to be the owner of the mortgage note and
    mortgage loan.

          51.    The mortgage loan is a “federally related mortgage loan” as
    defined in 12 U.S.C. § 2602(1).

         52. On or about December 13, 2017 Orlans on behalf of Caliber
    and US Bank sent the Plaintiffs a payoff statement.

          53. This statement erroneously stated that the Plaintiffs owed the
    following amounts:


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          Escrow advance of $20,676.99
          Late charges of $3100.00
          NSF Fees of $5056.86
          Accrued interest of $$53,676.45
          Principal balance of $174,541.25

          54. The fees charged were neither reasonable nor necessary and
    were not legally incurred as indicated in this complaint.

           55. As a result of this failure to comply with TILA, Defendant, US
    Bank is liable for actual damages and statutory damages of up to $4,000.00
    for this inaccurate payoff statement which was sent to the Plaintiffs.

           56. The Plaintiffs have incurred actual damages, costs and legal
    fees in regard to this action:

          a.     They have incurred costs for gasoline to visit their attorney on
                 at least two occasions, driving to their attorney’s office for a
                 round trip totaling 91.2 miles. The IRS standard mileage
                 allowance provides for .56 per mile.

          b.     They have incurred postage costs, copying costs and stationary
                 and envelope costs for transmission to the Defendant.

          c.     They have incurred costs to charge the batteries to their
                 cellphones to make calls and to send emails to their attorneys.

           d. They have incurred attorney fees and costs for the prosecution
    of this action. Their fee agreement with their attorney provides that they will
    be responsible for legal fees expenses incurred in regard to this action.




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    May 7, 2018                                   By their Attorney

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                                     COUNT IV

           COMPLAINT FOR DECLARATORY JUDGMENT

          57.     Paragraphs 1-56 are incorporated by reference.

          58. The Plaintiffs’ mortgage note was lost before US Bank
    purchased the mortgage loan.

          59. Pursuant to R.I.G.L 6A-3-309, the mortgage note cannot be
    enforced by a party which claims to have obtained the mortgage note after it
    was lost.

          60. As indicated by the lost note affidavit of Nationstar Mortgage,
    dated October 28, 2014, the Plaintiffs’ mortgage note was lost prior to that
    date.

          61. This information was transmitted to US Bank, through its loan
    servicer, Caliber, which provided the Plaintiffs the lost note affidavit, which
    was contained in Caliber’s servicing file.

         62. US Bank is not the agent for the owner of the mortgage note,
    which has been lost. As a result, Caliber cannot enforce the mortgage loan.

          Wherefore, Plaintiffs demand that this Court issue a declaratory
    Judgment that the Plaintiffs’ mortgage note has been lost and that as a result
    pursuant to R.I.G.L 6A-3-309, the note cannot be enforced by exercise of the


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    statutory power of sale since US Bank is not entitled to any funds payable
    pursuant to a lost note.
                                                 DAVID ST. AMOUR
                                                 DIANE ST. AMOUR
    May 7, 2018                                  By their Attorney

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          Plaintiffs demand a Trial by Jury




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